






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00721-CV






In re Denise Hicks







ORIGINAL PROCEEDING FROM HAYS COUNTY




M E M O R A N D U M   O P I N I O N



		The petition for writ of mandamus is denied and the motion for emergency relief is
dismissed.  See Tex. R. App. P. 52.8(a).  The stay ordered by this Court on December 20, 2007, is
lifted.



						                                                                                    

						W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Waldrop

Filed:   March 27, 2008


